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                                                                                   E-FILED
                                                     Friday, 21 December, 2007 02:17:52 PM
                                                                Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                 Plaintiff,                 )
                                            )
           v.                               )      No. 07-30081
                                            )
JOHN BECK,                                  )
                                            )
                 Defendant.                 )

                                 OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter came before the Court on December 20, 2007, for the

sentencing hearing of Defendant John William Beck. Defendant Beck

appeared in person and by his attorney Assistant Federal Public Defender

Robert A. Alvarado. The Government appeared by Assistant U.S. Attorney

Timothy A. Bass. On September 11, 2007, Defendant Beck pleaded guilty

to the charge of Bank Robbery, in violation of 8 U.S.C. §§ 2113(a) and (2),

as alleged in the Indictment (d/e 7). The Court accepted the plea on

October 11, 2007. Text Order entered October 11, 2007. The United

States Probation Office prepared a Presentence Investigation Report (PSR),

dated December 7, 2007.

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      The Government had no objections.

      The Defendant objected to the finding in paragraphs 25, 41, and 42.

Paragraph 25 stated that Defendant Beck’s offense level was increased to 32

because he was a career offender with three prior felony convictions for

crimes of violence. U.S.S.G. § 4B1.1(b)(C). Paragraphs 41 and 42 set forth

the details of two of the three prior felony convictions for crimes of violence.

Paragraph 42 gave the details of a conviction for an aggravated robbery that

occurred in Champaign County, Illinois, on November 17, 1994. Beck was

sentenced on July 6, 1995. Paragraph 41 gave the details of a conviction for

two other aggravated robberies that occurred in Macon County, Illinois, on

November 26, 1994, and November 28, 1994. Beck was sentenced on

March 24, 1995. The PSR counted the two convictions in Macon County

as a single conviction because the cases were related. Defendant Beck

argued that all three should be considered related.

      For the reasons stated of record, the objection was overruled. The

crime in Champaign County occurred on a different date, was charged in a

different charging document, and Beck was sentenced for the crime on a

different date. The crimes, therefore, were properly counted separately in

the PSR. U.S.S.G. § 4A1.2(a)(2).

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      The Defendant had no additional objections to the PSR. The Court,

therefore, adopted the findings of the PSR as its own. Accordingly, the

Court found that Defendant Beck had a final Offense Level of 29 and was

in Criminal History Category VI, resulting in an advisory Guideline

sentencing range of 151 to 180 months, in Zone D of the Guidelines. The

Court noted that the Guidelines are advisory, and that the Court was

required to exercise its discretion to determine Defendant Beck’s sentence,

considering the Guidelines, the statutory sentencing factors, and all other

relevant information. United States v. Booker, 543 U.S. 220 (2005); 18

U.S.C. § 3553(a).

     THEREFORE, after considering the case file, the evidence presented,

the Guidelines, the relevant statutory sentencing factors, the arguments of

counsel, and the statement of Defendant Beck, the Court sentenced

Defendant John William Beck to a term of 151 months imprisonment, to

be followed by 3 years of supervised release. The Court ordered Defendant

Beck to pay a $100.00 special assessment, which was due immediately. No

fine was imposed. The Court ordered Defendant Beck to pay restitution in

the sum of $1,000.00, his liability for which was made joint and several

with his co-defendant Tammy LeBlanc McMillan. The Court recommended

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to the Bureau of Prisons that Defendant Beck be placed in a facility with an

intensive drug treatment program and, if possible at FCI Greenville, Illinois,

or, if not, then as close to central or southern Illinois as possible. The Court

then informed Defendant Beck of his right to appeal.

IT IS THEREFORE SO ORDERED.

ENTER:         December 21          , 2007.

            FOR THE COURT:

                                            s/Jeanne E. Scott
                                          JEANNE E. SCOTT
                                    UNITED STATE DISTRICT JUDGE




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